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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         *
                                                 *
               v.                                * Criminal No. DLB-21-0399
                                                 *
ROY C. MCGRATH,                                  *
                                                 *
               Defendant.                        *
                                                 *
                                             *******

                                  ENTRY OF APPEARANCE

       Please enter the appearance of Aaron S.J. Zelinsky, Assistant United States Attorney for

the District of Maryland, as counsel on behalf of the United States.



                                             Respectfully submitted,

                                             Erek L. Barron
                                             Acting United States Attorney


                                      By:            /s/
                                             Aaron S.J. Zelinsky
                                             Assistant United States Attorney
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